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                                   UNITED       STATES    DISTRICT             COURT
                                   EASTERN DISTRICT             OF VIRGINIA
                                            Norfolk Division



UNITED      STATES   OP    AMERICA



v.                                                                                                2:07CR14


MICHAEL      ALAN    SPELLER


                           Defendant.




                                    REPORT       AND   RECOMMENDATION
                                         CONCERNING       GUILTY          PLEA


                Defendant,          by    consent,       has    appeared          before              the    undersigned

pursuant      to    Rule    11,    Federal       Rules    of    Criminal          Procedure,                and    referral


from    a   United    States       District       Judge        and    has       entered           a    guilty      plea      to

conspiracy to possess and distribute more than five kilograms of cocaine,

in violation of            21    U.S.C.    §§    841{a)(l)          and    (b) (1) (A) ;          846.        There     were

other       counts    in    the    indictment,           but    defendant              was    not        charged        with

anything      other    than       the    conspiracy       count.           On    June        6,       2007,       defendant

appeared before            the    Court    for    the purpose             of    entering his                guilty plea.


Defendant was         represented by appointed counsel,                           David M.             Good,       Esquire.


                Defendant          was     appropriate          in        appearance,                 responsive,         and

competently prepared              for     the hearing.          He answered all questions put                                to


him    in   clear    and    concise        language.           On    those       occasions             when       he   had    a

question,      defendant          consulted with          counsel          and    then promptly answered.

Defendant was courteous and appropriate in his behavior at all times and


clearly understood the seriousness of his position.                                          At the close of              the

proceeding,         defendant       was    remanded       to    the       custody of          the       United         States

Marshal,      pending      completion of          a presentence                report.
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                Defendant        is    forty years of age,         went   to the tenth grade in

school, and speaks English as his native language.                         There was no evidence

that defendant was on drugs,                    alcohol,   or medication which might impair

his judgment.          He was cooperative throughout the proceeding.

                Defendant            entered     the   guilty     plea    pursuant      to    a   plea

agreement.           The   Court     is   completely satisfied,          based upon    defendant's

responses,          that   he   fully     appreciates      his    position.     Furthermore,          he

acknowledged that the statement of facts prepared in anticipation of his

plea   accurately          reflects       the    government's     evidence,     in    the    event    of

trial.


                After cautioning and examining defendant under oath concerning

each of the subjects mentioned in Rule 11,                       the Court determined that the

offense charged is supported by independent facts,                         establishing each of

the essential elements of such offense.                     Therefore,     the Court recommends

that   the guilty plea be accepted and that defendant be adjudged guilty

and have sentence imposed accordingly.


                Failure         to     file     written    objections     to   this    report        and

recommendation within ten days from the date of its service shall bar an

aggrieved party from attacking such report and recommendation before the

assigned United States District Judge.                      28 U.S.C.     § 636(b) (1) (B) .




                                                            IITED STATES MAGISTRATE

Norfolk,    Virginia


         June   7           ,   2007
